   Case: 1:16-cv-09321 Document #: 55 Filed: 09/09/19 Page 1 of 1 PageID #:1778




                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JANET KOTASKA,                                 )
                                                )
      Plaintiff,                                )
                                                )     Case No.: 16 cv 9321
               v.                               )
                                                )
                                                )     Judge Robert M. Dow, Jr.
 FEDERAL EXPRESS,                               )
                                                )
      Defendants.                               )
                                                )

                                    NOTICE OF APPEAL

       Please take notice that Plaintiff, Janet Kotaska hereby appeals from the order of the

granting summary judgment on August 21, 2018, and the order denying Plaintiff’s Motion to

Reconsider, pursuant to F.R.Civ.P. Rule 59(e), denied on August 30, 2019.


Dated: September 9, 2019                                    Respectfully submitted,

                                                            s/Edward M. Fox
                                                            Edward M. Fox

ED FOX & ASSOCIATES, LTD.
300 W Adams St, Ste 330
Chicago, IL 60606
(312) 345-8877
efox@efoxlaw.com
